        Case 3:08-cr-00023-LC         Document 56           Filed 06/02/08      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:08cr23 LAC

JAMES PATRICK GLENN

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on MAY 28, 2008
Motion/Pleadings: MOTION TO ADOPT APPLICABLE MOTIONS FILED BY CO- DEFTS
Filed by DEFT                         on 5/27/08  Doc.# 52

RESPONSES:
                                               on                       Doc.#
                                               on                       Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,       it    is    ORDERED      this   2 nd   day   of
June, 2008, that:
(a) The relief requested is GRANTED.
(b)




                                                                  s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
